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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     IN ADMIRALTY

                                            CASE NO.:

 PENINSULA PETROLEUM FAR EAST PTE. LTD.

        Plaintiff,
 vs.

 M/V CRYSTAL SYMPHONY, its
 Engines, tackle, apparel, et al

        Defendant in rem, and

 CRYSTAL CRUISES, LLC.
 STAR CRUISES (HK) LIMITED.

       Defendants in personam.
 __________________________________/

                     VERIFIED COMPLAINT WITH REQUEST FOR
                 ISSUE OF WARRANT FOR ARREST OF VESSEL, IN REM

        Peninsula Petroleum Far East Pte. Ltd.(“Peninsula”) sues the M/V CRYSTAL

 SYMPHONY, its engines, tackle, apparel, etc., in rem (“Vessel”) pursuant to Supplemental

 Admiralty and Maritime Rule C in causes of breach of maritime contracts and foreclosure of

 maritime liens in rem, and further sues Crystal Cruises, (“Crystal”) and Star Cruises (HK)

 Limited (“Star”) in personam for breach of maritime contracts, as follows:

                                           Jurisdiction

        1.      This claim is within the Court's admiralty jurisdiction pursuant to 28 U.S.C.

 §1333, and the Commercial Instruments and Maritime Lien Act (”CIMLA”), 46 U.S.C. §31301,

 et seq. This is an admiralty and maritime claim within the meaning Rule 9(h) of the Federal

 Rules of Civil Procedure.
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         2.     Peninsula is a duly organized and existing corporation under the laws of

 Singapore with its principal business place in Singapore. Crystal is a California LLC with its

 principal business place in Miami, and was or is at pertinent times here, namely, Crystal’s order

 of marine fuel from Peninsula which Peninsula provided to the Vessel, the charterer and/or

 manager of the Vessel. Star is a Hong Kong corporation, which does business in this District

 and was or is at pertinent times here, namely, Crystal’s order of marine fuel from Peninsula

 which Peninsula provided to the Vessel, the charterer and/or manager of the Vessel.

         3.     The Vessel is a passenger cruise ship which is or soon will be within this District,

 calling at Port Miami.

                                                Facts

         4.      Crystal and Star, when they were the charterers and/or managers of the Vessel,

 ordered marine fuel (“bunkers”) for the Vessel from Peninsula, which Peninsula provided to the

 Vessel at Miami according to agreed terms of sale including Peninsula’s Terms and Conditions

 of Sale, and invoiced Crystal and Star as also agreed.

         5.      Crystal and Star also ordered from Peninsula bunkers for other vessels which at

 the time Crystal and Star, respectively were those vessels’ charterers and/or managers. Peninsula

 provided the bunkers to those vessels, also according to agreed terms of sale including

 Peninsula’s Terms and Conditions of Sale, and invoiced Crystal and Star as agreed.

         6.      Peninsula’s Terms and Conditions of Sale provide that the sales terms of

 Peninsula’s physical suppliers at Miami, which provide for maritime liens in rem and U.S. law,

 are incorporated into Peninsula’s contract for sale of the bunkers to the Vessel. The physical

 suppliers’ terms also provide for the payment of attorneys fees and costs of collection, for

 acceleration of invoices when the customer does not pay its other debts when due, and for

 contractual interest.
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          7.      Pursuant to United States general maritime law and the United States Commercial

 Instruments and Maritime Act, Peninsula holds maritime liens against the Vessel, in rem as set

 out above, pre-judgment interest, post-judgment interest, costs and other expenses.

          8.      Peninsula’s sales on the order of Crystal and Star, respectively, are the following:


                              Invoice     Delivery    Quantity                     Delivery
               Vessel                                                Amount                    DueDate
                              No.         Port        (mt)                         Date
               CRYSTAL                                                $
   Star                       15164570 Miami               830.010                 12/22/2021 1/17/2022
               SERENITY                                              640,045.65
               CRYSTAL                                                $
   Star                       15164607 Miami                47.030                 12/22/2021 1/17/2022
               SERENITY                                              37,108.55

               CRYSTAL                                                $
   Star                       15164569 Miami               740.000                 12/29/2021 1/17/2022
               SYMPHONY                                              571,833.46

               CRYSTAL                                                $
   Crystal                    15166045 Miami                96.000                 1/5/2022    1/5/2022
               SERENITY                                              77,568.00
               CRYSTAL                                                $
   Crystal                    15165948 Miami               850.000                 1/5/2022    1/5/2022
               SERENITY                                              684,519.65

               CRYSTAL                                                $
   Crystal                    15166521 Miami               780.000                 1/8/2022    1/8/2022
               SYMPHONY                                              629,074.98

               CRYSTAL                                                $
   Crystal                    15166610 Miami                93.000                 1/17/2022   1/17/2022
               SERENITY                                              80,305.50
               CRYSTAL                                                $
   Crystal                    15166511 Miami               770.000                 1/17/2022   1/17/2022
               SERENITY                                              632,701.46


               SUPERSTAR
   Star                  15073642 Penang                   348.000   $    6,611.67 14/07/2017 8/11/2021
               LIBRA
               SUPERSTAR
   Star                  15076908 Penang                   412.000   $    9,803.07 21/10/2017 8/11/2021
               LIBRA
               SUPERSTAR
   Star                  15077601 Penang                   445.000   $ 10,646.29 11/11/2017 8/11/2021
               LIBRA
               SUPERSTAR
   Star                  15077602 Penang                   360.000   $    8,615.81 14/11/2017 8/11/2021
               LIBRA
               SUPERSTAR
   Star                  15077603 Penang                   460.072   $ 10,804.73 25/11/2017 8/11/2021
               LIBRA



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   Total Claims, Against the CRYSTAL SYMPHONY
   ("Vessel"), in rem                                          $1,200,908.44
   Total Claims, Against Crystal Cruises, LLC, in personam
                                                               $2,104,169.59
   Total Claims, Against Star Cruises (HK) Limited, in
   personam                                                    $1,295,469.23


                            COUNT I – MARITIME LIENS IN REM
                                 AGAINST THE VESSEL

                            Maritime Lien In Rem Against the Vessel

          9.    Peninsula repeats the foregoing paragraphs.

          10.   Peninsula on the order of Crystal and Star, Vessel’s respective charterers and/or

 managers at the time of Peninsula’s bunker provision at Miami as set out above, provided

 maritime necessaries to the Vessel, namely, bunkers and Peninsula thereby holds maritime liens

 in rem against the Vessel for the value of its maritime necessaries.

          11.   Peninsula has not been paid for the maritime necessaries provided to the Vessel

 and therefore proceeds to arrest the Vessel to execute on its maritime liens in rem, for sale of the

 Vessel and satisfaction of its maritime liens in rem as demanded below.

                           COUNT II – BREACH OF CONTRACT
                       IN PERSONAM AGAINST CRYSTAL AND STAR

          12.   Peninsula repeats the foregoing paragraphs.

          13.   Crystal and Star have breached their contracts with Peninsula, to pay for the

 bunkers which they ordered from Peninsula for vessels which they chartered and/or managed.

          14.   Crystal and Star therefore are liable to Peninsula for damages, as demanded

 below.

                                      PRAYER FOR RELIEF

          WHEREFORE, Peninsula demands judgment as follows:

          A.    Count I - Against the in rem defendant Vessel as follows:

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                1.      That the Clerk of this Court issue a warrant for arrest of the Vessel,

 commanding the United States Marshal for this District, or pursuant to alternative service of the

 warrant as ordered by this Court, to arrest and take into custody the Defendant Vessel and detain

 the same in the custody of the substitute custodian until further order of this Court;

                2.      That the Court find that Plaintiff holds valid maritime liens in rem against

 the Vessel and its engines, appurtenances, furnishings, machinery, and equipment;

                3.      That the Court judgment in rem against the Vessel, including without

 limitations all of its engines, machinery, tools, boats, anchors, chains, tackle, fittings, navigation

 equipment, and all other equipment and appurtenances appertaining or belonging to the Vessel,

 whether on board or not, and order that Plaintiff’s claims of at least $1,200,908.44 as detailed

 above, be asserted and executed against the Vessel for Plaintiff’s maritime liens, in rem, and that

 the Vessel be sold to satisfy Plaintiff’s maritime liens in rem;

                4.      That the Court award Plaintiff its costs and other expenses incurred in

 connection with this proceeding, including without limitations, all costs incurred in custodia

 legis; and

                5.      That the Court grant such other legal and equitable relief as this Court

 deems just and proper.

        B.      Count II - Against the in personam defendants:

                1.      That the Court enter judgment:

                Against Crystal Cruises, LLC, in personam $2,104,169.59

                Against Star Cruises (HK) Limited, in personam           $1,295,469.23

 plus contractual attorneys fees, costs, and interest; and

                2.      That the Court grant such other legal and equitable relief as this Court

        deems just and proper.
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  Dated: January 19, 2022.

  BLANCK & COOPER, P.A.                              /s/ J. Stephen Simms
  5730 S.W. 74th Street, Suite #700                  J. Stephen Simms
  Miami, Florida 33143                               (pro hac vice motion to be filed)
  Phone: (305) 663-0177                              Simms Showers LLP
  Cell Number: 305-283-5390                          201 International Circle, Suite 230
                                                     Baltimore, Maryland 21030
  BY:_____//S//Jonathan S. Cooper, Esq.              Telephone: (410) 783-5795
  Jonathan S. Cooper, Esq.                           Cell Number: 410-365-6131
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                                   Attorneys for Plaintiff Peninsula

                                          VERIFICATION

                I am a principal of Simms Showers LLP, counsel to Plaintiff. No officer of

 Plaintiff is present in this District to make this declaration, which Plaintiff has authorized me to

 make on its behalf based on facts including documents received from Plaintiff. The facts alleged

 in the foregoing complaint are true and correct to the best of my knowledge and information

 based upon the records of Plaintiff.

        Pursuant to 28 U.S.C. § 1746(1), I certify under penalty of perjury that the foregoing is

 true and correct.

                                                        Executed on January 19, 2022.

                                                         /s/ J. Stephen Simms
                                                         J. Stephen Simms
                                                         (pro hac vice motion to be filed)
                                                         Simms Showers LLP
                                                         201 International Circle, Suite 230
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